
*1368OPINION.
Lansdon:
Petitioner first alleges that the respondent erroneously determined the value of the note in which she acquired a one-half interest to be less than its true discount value at date of acquisition, by reason of which, it being later paid in full, she was held to have received an enhanced profit. The undervaluation thus complained of was the result of respondent’s giving equal discount to each of the 33 notes although their respective maturing dates were different and ranged from three to two hundred and one months after date of execution. It may be that respondent’s determination of the value of the note was erroneous, but the petitioner produced no evidence upon which we can determine a basic value for these notes, in the absence of which there is nothing to show that her interest in the particular note in question suffered by reason of the method employed by respondent in his determination. The action of the respondent in respect to this alleged error is 'therefore approved.
In support of the second assignment of error, petitioner claims that the sale of the property located at 1104 Vermont Avenue, Washington, D. C., resulted in a loss rather than a gain and that the respondent erred (1) in his determination of the March 1, 1913, value, as well as in the depreciated value to date of sale, and (2) in respect to the net sale price of the property. To establish the cost price of this property the petitioner introduced a witness well qualified to testify as to real estate values in the District of Columbia and in the immediate vicinity of its location. The witness stated that, in his judgment, this property on March 1, 1913, had a conservative market value of from $55,000 to $60,000. No evidence was introduced by the respondent to challenge this testimony, which is convincing to us as to the correct value to be adopted. We, therefore, find the March 1, 1913, value of this property to be $60,000, and the net sale price, $68,802.76. In the absence of evidence showing error, the rate of depreciation employed by the respondent is approved.

Decision will be entered wider Bule 50.

